3651.000
                                         IN THE UNITED STATES DISTRICT COURT
                                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                  WESTERN DIVISION

  JACK D. McCULLOUGH,

                                             Plaintiff,
                                            v.                                           No.:        17-cv-50116
                                                                                         Honorable Frederick J. Kapala
  ILLINOIS STATE POLICE AGENT                                                            Courtroom 5300
  BRION HANLEY, et al.,
                                                                                         Magistrate Judge Iain D. Johnston
                                                                                         Courtroom 5200
                                             Defendants.


                     DEKALB DEFENDANTS’ MOTION FOR A PROTECTIVE ORDER

              NOW COME Defendants, Clay Campbell, Victor Escarcida, Julie Trevarthen, and William

Engerman (hereinafter “DeKalb Defendants”), by and through their attorneys, Ekl, Williams &

Provenzale LLC, and pursuant to Federal Rule of Civil Procedure 26(c)(1), move this Court to enter

a protective order regarding the location of the DeKalb Defendants’ depositions. In support thereof,

the DeKalb Defendants state as follows:

              1.            The DeKalb Defendants’ depositions are scheduled to proceed over the next two

months. The first DeKalb Defendant deposition to proceed will be Defendant Clay Campbell on

October 23, 2018.

              2.            Defendant Clay Campbell resides in Sycamore, Illinois. Defendants Julie Trevarthen

and Victor Escarcida reside in St. Charles, Illinois. Defendant William Engerman resides in Geneva,

Illinois.

              3.            Plaintiff’s counsel’s office is located at 311 N. Aberdeen in Chicago.




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              4.            While the exact travel time to Plaintiff’s counsel’s office cannot be determined given

the amount of unknown variables, including construction and traffic, it is a conservative estimate

that the DeKalb Defendants would have to travel between 4 and 5 hours round trip to attend

depositions at Plaintiff’s counsel’s office.1 Furthermore, based on the undersigned counsel’s

personal experience, there is little, to no, available parking in the vicinity of Plaintiff’s counsel’s

office.

              5.            Therefore, on September 24, 2018, counsel for the DeKalb Defendants requested that

Plaintiff’s counsel agree to depose the DeKalb Defendants in either DeKalb County or Kane County.

Alternatively, counsel for the DeKalb Defendants proposed that the depositions take place at their

office in Lisle, Illinois. The office for the DeKalb Defendants’ counsel is at 901 Warrenville Rd.,

Lisle, which is approximately the halfway point between Plaintiff’s counsel’s office and the DeKalb

Defendants. See email communications, attached as Exhibit A.

              6.            On September 25, 2018, Plaintiff’s counsel asked the DeKalb Defendants to

“reconsider their objection” because it was important for Plaintiff’s counsel to have access to his file

during the depositions. See Exhibit A. In response, counsel for the DeKalb Defendants requested

to schedule a conference with Plaintiff’s counsel to discuss the matter. See Exhibit A. Plaintiff’s

counsel did not respond to the request.

              7.            On September 27, 2018, during a court appearance, the issue of the location of the

DeKalb Defendants’ depositions was raised with the Court. At that time, Plaintiff’s counsel

indicated that she objected to the depositions occurring at a location other than her office because


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         Based current travel conditions, including construction on I-88, it is counsel’s
experience that in the morning rush time hours, travel from Sycamore to Chicago would take no
less than 3 hours.
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of the need able to print off exhibits during the deposition.

              8.            Plaintiff’s counsel’s objection to taking the DeKalb Defendants’ depositions at any

location other than their office is not well founded. This case involves many out-of-state witnesses,

including out-of-state Defendants, and Plaintiff’s counsel has clearly not had any trouble traveling

with deposition exhibits or accessing his file electronically while out of his office.2

              9.            On October 15th, counsel for the DeKalb Defendants left Plaintiff’s counsel a message

to discuss this matter further. That message was not returned as of the filing of this Motion.

              10.           On October 15th, counsel for the DeKalb Defendants also made another request by

email that their depositions be taken in DeKalb County, Kane County, or their counsel’s office in

Lisle, IL.

              11.           Subsequently, Plaintiff’s counsel sent a notice of deposition indicating that

all of the DeKalb Defendants’ depositions were taking place at his office. See Exhibit B.

              12.           Federal Rule of Civil Procedure 26(c)1) permits the court to regulate discovery by

imposing specifying terms, including “time and place” for discovery. It is within the discretion of

the court to determine where a deposition should be conducted. Undraitis v. Luka, 142 F.R.D. 675,

676 (N.D. Ind. 1992). The court may, for good cause, issue a protective order to protect a party from

“annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).

              13.           It would be incredibly burdensome for each of the DeKalb Defendants to undertake

4 to 5 hours of travel and a 7 hour deposition in one day. However, taking the depositions at the

office of the DeKalb Defendants’ counsel would cause no burden to Plaintiff and very little, if any,



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        Plaintiff’s counsel has also agreed to take the depositions of three ISP Defendants at the
Attorney General’s Office
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inconvenience to Plaintiff’s counsel.

              14.           Additionally, Defendant Campbell has a medical condition that would prevent him

from both traveling 5 hours and attending a 7 hour deposition in one day. In May of 2018,

Defendant Campbell suffered a heart attack and is currently on medication for issues related to his

heart. Therefore, if Defendant Campbell is required to attend a deposition at Plaintiff’s counsel’s

office, he will necessarily have to make overnight accommodations at a location in the vicinity of

Plaintiff’s counsel’s office. This is an unreasonable and undue burden that is completely avoidable

with the reasonable compromise proposed by the DeKalb Defendants.

              WHEREFORE, Defendants, Clay Campbell, Victor Escarcida, Julie Trevarthen, and William

Engerman, respectfully request that this Honorable Court order that the depositions of Clay

Campbell, Victor Escarcida, Julie Trevarthen, and William Engerman occur at a location in DeKalb

County, at a location in Kane County, or at the office of Ekl, Williams & Provenzale, LLC.

                                                                                         Respectfully submitted by:

                                                                                         By: s/ Terry A. Ekl
                                                                                         Terry A. Ekl [ #00727105 ]
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